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EXHIBIT 2 - TIME WARP EXAMPLES OF SPOLIATED CCTV

The following are examples. Every indoor and outdoor CCTV was spoliated.




FIGURE 1 EXAMPLE

Start of nine minutes of Video "Crammed into" a Fifteen Minute Clip
Note Start Time at top left imbedded clock
Note file label at top does not match video start and end times
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FIGURE 2

End of nine minutes of video that comprises a fifteen minute clip
Note the end time is fifteen minutes after the start time in Figure 1 above
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FIGURE 3

Another fifteen minute clip that only has nine minutes of video.
Govt File label does not match time of video
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FIGURE 4

Outdoor main entrance camera

Eighteen minutes of video for a fifteen minute clip

This is the start time. See below for end time, imbedded.
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FIGURE 5

Outdoor main entrance camera

Eighteen minutes of video for a fifteen minute clip

This is the end time for Figure 4 above where eighteen minutes of video ends at the
the fifteen minute imbedded camera time stamp

Govt. start and end times in every outdoor video are three minutes off ground truth.
